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                        EXHIBIT 1
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                          17                                  NORTHERN DISTRICT OF CALIFORNIA
                                                                     OAKLAND DIVISION
                          18

                          19       COALITION ON HOMELESSNESS, et al.,            CASE NO. 4:22-cv-05502-DMR
                                                          Plaintiffs.            SUPPLEMENTAL DECLARATION OF
                          20
                                             v.                                  CHRISTIN EVANS IN SUPPORT OF
                          21                                                     THE REPLY IN SUPPORT OF
                                   CITY AND COUNTY OF SAN FRANCISCO,             PLAINTIFFS’ MOTION FOR
                          22       et. al.,                                      PRELIMINARY INJUNCTION
                          23                             Defendants.
                                                                                 Judge:         The Hon. Donna M. Ryu
                          24
                                                                                 Hearing Date: December 22, 2022
                          25                                                     Time:         1:00 p.m.
                                                                                 Place:        Courtroom 4 – 3rd Floor
                          26                                                                   1301 Clay Street
                          27                                                                   Oakland, CA 94612

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                               1                   SUPPLEMENTAL DECLARATION OF CHRISTIN EVANS

                               2   I, Christin Evans, hereby declare pursuant to 28 U.S.C. § 1746:

                               3          1.      All facts set forth in this declaration are based upon my personal knowledge, and,

                               4   if called upon to testify as to the truth of these facts, I could and would competently do so.

                               5          2.      I am a volunteer with the Coalition on Homelessness (“COH” or “the Coalition”).

                               6   As part of my volunteer work with the Coalition, I regularly monitor San Francisco’s Healthy

                               7   Streets Operation Center (“HSOC”) encampment resolutions and have personally witnessed over

                               8   50 encampment resolutions.

                               9          3.      I previously submitted a declaration regarding my observations of the City’s

                          10       encampment resolutions and treatment of unhoused people and their property. I submit this

                          11       further supplemental declaration regarding my direct observations at HSOC encampment

                          12       resolutions that took place in 2022. In a typical week, I try to observe one to two formal HSOC

                          13       encampment resolutions or informal sweep operations (i.e. where SFPD or DPW remove

                          14       unhoused people or their property in response to daily dispatches based on complaint and/or

                          15       during the City’s daily street cleaning operations). Below I have memorialized several sweeps of

                          16       unhoused people from 2022, including three instances from after September 2022 when I

                          17       understand this case was filed.

                          18       Observations at HSOC and Other Encampment Resolutions

                          19              A.      March 14, 2022: Myrtle and Polk Streets

                          20              4.      On March 14, 2022, I was conducting outreach in San Francisco around noon

                          21       when I spoke with an unhoused individual who had just been swept by the City. He had been

                          22       staying at Myrtle and Polk Streets. When this man spoke to us, he was desperate and exhausted.

                          23       He had a disability and had difficulty walking, so he used a cane or a wheelchair for mobility.

                          24       When we spoke with him, he was leaning against a pole to stand.

                          25              5.      Enforcement Without Shelter Offer: The individual reported that he had not been

                          26       offered shelter during the sweep. After speaking with the individual, I advocated directly with

                          27       Mark Mazza of HSH for a shelter placement that day—and Mark Mazza eventually sent the Street

                          28       Wellness Response Team (SWRT) to check in with him. However, Mark Mazza informed me
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                               1   that he would likely be unable to offer the individual shelter because he was not able to move

                               2   independently enough. Regardless, this advocacy took place after the sweep had already occurred

                               3   and the individual had already been displaced without shelter.

                               4           6.      Property Destruction: This individual reported to us that the City had thrown out

                               5   his tent, his tarp, and his electric wheelchair.

                               6           B.      March 18, 2022: Shotwell and 25th

                               7           7.      On March 18, 2022, I observed an HSOC encampment resolution. SFFD, SFPD,

                               8   DPW, SFMTA, and HOT were all present and conducted the resolution. I arrived to the site at

                               9   approximately 7:00 AM.

                          10               8.      Lack of Shelter Offers: One couple was interested in shelter, but only one of them

                          11       was present when the sweep began. I explained the situation to Mark Mazza, the HOT supervisor,

                          12       who said that he could make a shelter offer to both of them if the other member of the couple

                          13       returned within the next few hours. The man present at the time left to search for his partner. He

                          14       returned before the sweep concluded, but his partner had not yet returned. No offer of shelter was

                          15       extended to either of them on that day. I followed up with this couple via text and learned that

                          16       they were denied shelter because there were no couple shelter spaces available for several weeks

                          17       at the time the sweep occurred.

                          18               9.      Property Destruction: At least one individual’s belongings were taken during this

                          19       sweep. One unhoused individual had momentarily stepped away from the site, but a housed

                          20       neighbor told the SFFD captain and me that she knew the homeless man the items belonged to

                          21       and that he planned to return. She asked if his items could be bagged and tagged. The SFFD

                          22       captain refused, saying that, because the items were unattended, they would be disposed of by

                          23       DPW. The housed neighbor asked again, and the captain allowed her to store some of the man’s

                          24       belongings in her garage. However, DPW still disposed of some of his personal belongings,

                          25       including some shelving and containers of what appeared to be food.

                          26               10.     I also witnessed the SFFD captain dragging a momentarily unattended tent out of

                          27       an alley and throwing it into a DPW truck with the assistance of a DPW worker—with no apparent

                          28       attempt to bag and tag the tent or anything inside it. The man who had left the sweep temporarily
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                               1   to find his partner to try and secure shelter had the same experience. I watched as DPW disposed

                               2   of several of his belongings in his absence.

                               3          C.      June 3, 2022: Embarcadero, Near the Ferry Building

                               4          11.     On or about May 31, 2022, Mayor London Breed tweeted publicly calling for tents

                               5   near the ferry building on the Embarcadero to be swept. I and other members of the Coalition

                               6   connected with the individuals who were staying there in the following days. Approximately 12

                               7   individuals were camping in this area.

                               8          12.     Enforcement Without Shelter Offers: We learned that members of HOT conducted

                               9   outreach to individuals on the evening of Thursday, June 2, 2022. They took down names of

                          10       individuals who were interested in a shelter bed, but they had no concrete offers to give.

                          11       Nonetheless, DPW and SFPD conducted a sweep the next morning, Friday, June 3, 2022, at 5:30

                          12       AM. SFPD Officer Collins ordered everyone to leave the area. Individuals reported having their

                          13       belongings taken by the City. HOT was not present, and no offers of shelter were actually given.

                          14              13.     Improper Notice: When I followed up with the HOT team about this sweep

                          15       operation, I was told by a member of HOT that they had originally planned to return on

                          16       Saturday—not Friday—to post a formal notice of the resolution. However, no notice was posted,

                          17       and the encampment was swept early on Friday morning without following this procedure.

                          18              D.      October 27, 2022: Baker & Fell

                          19              14.     On October 27, 2022, I observed an HSOC encampment resolution scheduled to

                          20       take place at Baker and Fell at 1:00 PM. I arrived at the location of the encampment resolution

                          21       approximately five to ten minutes before the resolution began. When I arrived at the encampment,

                          22       I observed 4 unhoused individuals who were present at the encampment. At least 21 City

                          23       employees from the SFPD, DPW, HOT, SFFD, and SFMTA conducted this encampment

                          24       resolution.

                          25              15.     Property Destruction: During this operation, DPW employees discarded an

                          26       individual’s momentarily unattended tent and with survival belongings inside the tent. The

                          27       belongings inside the tent included a tarp with clean linens, a backpack, and prescription

                          28       medicine. I did not see the City attempt to bag and tag any of this property before throwing it into
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                               1   indiscriminately into a dumpster truck.

                               2           E.      October 28, 2022: King Between 4th & 5th Street

                               3           16.     On October 28, 2022, I observed an HSOC encampment resolution scheduled to

                               4   take place at King between 4th and 5th Street at 7:00 AM. I arrived at the location of the

                               5   encampment resolution approximately five to ten minutes before it began at 7:20AM.

                               6           17.     When I arrived at the encampment, I observed 4 unhoused individuals present. At

                               7   least 16 City employees from SFPD, DPW, HOT, SFFD, SFMTA, DPH, and HSH conducted this

                               8   encampment resolution.

                               9           18.     Police Operations Before Any Shelter Offers: SFPD officers arrived at the

                          10       encampment around 7:20 AM and began ordering unhoused individuals to pack up their

                          11       belongings and prepare to leave the encampment. No City employees made any offers of shelter

                          12       to the unhoused individuals prior to the SFPD officers beginning to conduct their enforcement

                          13       operations.

                          14               19.     Lack of Shelter Offers: I observed that HOT employees failed to offer shelter to 2

                          15       of the 4 unhoused individuals at the encampment. While one of the individuals had already left

                          16       the area after being told to “move along” by SFPD, HOT deemed the second individual ineligible

                          17       for shelter because HOT claimed that he arrived only after HOT had begun determining shelter

                          18       needs. However, in reality, he had been ordered to leave the encampment by SFFD and SFPD

                          19       while HOT was absent and before any shelter offer had been given. When he returned to the

                          20       encampment after HOT had begun its initial assessments, HOT declared him ineligible to receive

                          21       shelter that day.

                          22               20.     Property Destruction: After one of the other individuals present accepted an offer

                          23       of shelter, she set aside certain belongings that she learned she could not take with her into shelter

                          24       for space reasons. Although she asked the SFFD commander not to discard these items and to

                          25       store them instead, DPW employees instead began to throw out all of her belongings. I advocated

                          26       for her items to be bagged and tagged, but DPW still threw out about half of her belongings,

                          27       including a blue cart, some shelving, a tarp, and a blanket.

                          28               21.     During this operation, I also experienced harassment from the SFFD commander,
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                               1   identified as Patrick. He heckled me during the sweep, telling me to “stay in [my] lane” and

                               2   calling the Coalition on Homelessness the “Worthless Coalition.”

                               3          F.      November 6, 2022: Clayton and Fell Streets

                               4          22.     I was contacted by two members of the public who informed me that a sweep had

                               5   occurred the morning of November 6, 2022 at Clayton and Fell Streets. They reported that only

                               6   DPW and SFPD were present.

                               7          23.     Noticing Issues: I reviewed a photo of the notice that was posted at the site. It

                               8   stated that it was notice posted on November 4 and indicated that the sweep would occur on

                               9   November 8, 2022 at 240 Clayton Street. However, DPW and SFPD apparently came two days

                          10       before the posted date, on November 6, 2022.

                          11              24.     Enforcement Without Shelter Offers: I learned from the individuals onsite that

                          12       there had been four tents when the sweep began, and that the residents of all the tents were forced

                          13       to move by SFPD. However, no shelter offers were given to the individuals at the site because

                          14       HOT was not present during the sweep.

                          15

                          16       I declare under penalty of perjury that the contents of this declaration are true and correct to the

                          17       best of my knowledge, and that I executed this declaration on November 29, 2022 in San

                          18       Francisco, California.

                          19
                                                                                         _________________
                          20                                                             Christin Evans
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